                         Case 1:17-cv-03640-ER Document 13 Filed 02/15/18 Page 1 of 3
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                   Southern District of New York                              on the following
      G Trademarks or         G
                              ✔ Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
      17-cv-03640-ER                       5/15/2017                                       Southern District of New York
PLAINTIFF                                                                    DEFENDANT
 Kaldren LLC                                                                   HSBC USA, Inc.



        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 6,098,882                                 8/8/2000                   KALDREN LLC

2 6,176,427                                1/23/2001                   KALDREN LLC

3 6,820,807                                11/23/2004                  KALDREN LLC

4 8,281,999                                10/9/2012                   KALDREN LLC

5


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 See Attached Sheet                                                   See Attached Sheet

2

3

4

5


                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 COPY ATTACHED:Notice of Voluntary Dismissal




CLERK                                                        (BY) DEPUTY CLERK                                          DATE
Ruby J. Krajick                                                s/K.Mango                                                       2/15/2018

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


         Print                        Save As...                                                                                   Reset
            Case 1:17-cv-03640-ER Document 13 Filed 02/15/18 Page 2 of 3



                    IN THE UNITED STATES DISTRICT COURT FOR
                      THE SOUTHERN DISTRICT OF NEW YORK

KALDREN LLC,                                   §
                                               §
       Plaintiff,                              §       CIVIL ACTION NO.
                                               §
                                               §
       v.                                      §           1:17-cv-03640
                                               §
HSBC USA, INC.,                                §
                                               §
                                               §
       Defendant.                              §

                        NOTICE OF DISMISSAL WITH PREJUDICE

       Under Federal Rule of Civil Procedure 41 (a), Plaintiff Kaldren LLC moves to dismiss all

claims against Defendant HSBC, USA, Inc. WITH PREJUDICE, with each party to bear its own

attorneys’ fees and costs.


 Dated: February 14, 2018                   By: /s/Jean-Marc Zimmerman
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                                            ATTORNEYS FOR PLAINTIFF
                                            KALDREN LLC
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

documents has been served on February 14, 2018, to all counsel of records who deemed to have

consented to electronic service via the Court’s CM/EFF system.


                                                          /s/Jean-Marc Zimmerman
                                                          Jean-Marc Zimmerman
